        Case 3:15-cv-00335-RCJ-VPC Document 61 Filed 05/25/16 Page 1 of 3



 1   Pat Lundvall (NSBN 3761)
     Rory T. Kay (NSBN 12416)
 2   McDONALD CARANO WILSON LLP
     2300 West Sahara Avenue, Suite 1000
 3   Las Vegas, Nevada 89102
     Telephone:     (702) 873-4100
 4   lundvall@mcdonaldcarano.com
     rkay@mcdonaldcarano.com
 5
     Attorneys for Defendants
 6
     Leslie Bryan Hart (NSBN 4932)
 7   Courtney Miller O’Mara (NSBN 10683)
     FENNEMORE CRAIG, P.C.
 8   300 East Second Street - Suite 1510
     Reno, Nevada 89501
 9   Telephone: (775) 788-2200
     Facsimile:    (775) 786-1177
10   lhart@fclaw.com; comara@fclaw.com
11   Nicholas M. Menasché (admitted pro hac vice – N.Y.S. Bar No. 4495214)
     ROBINSON BROG LEINWAND GREENE
12    GENOVESE & GLUCK P.C.
     875 Third Avenue, 9th Floor
13   New York, New York 10022
     Telephone: (212) 603-6300
14   Facsimile: (212) 956-2164
     nmm@robinsonbrog.com
15
     Attorneys for Plaintiff Southport Lane Equity II, LLC
16

17
                                  UNITED STATES DISTRICT COURT
18                                     DISTRICT OF NEVADA
19   SOUTHPORT LANE EQUITY II, LLC,                    CASE No.:     3:15-cv-0335-RCJ-VPC
     individually and derivatively on behalf of
20   MASSIVE INTERACTIVE, INC., a Nevada
     corporation,
21                                                     STIPULATION AND ORDER TO
                   Plaintiff,                          DISMISS CASE WITH PREJUDICE
22
            vs.
23                                                     (First Request)
     RON DOWNEY, DEREK ELLIS, MAX
24   RAMSAY, MONIQUE ELLIS, DOMINIC DE
     LORENZO, ALEX DROSIN, and ANTAINE
25   FURLONG, and MASSIVE INTERACTIVE,
     INC., a Nevada corporation,
26
                   Defendants.
27

28

                                                     -1-
        Case 3:15-cv-00335-RCJ-VPC Document 61 Filed 05/25/16 Page 2 of 3



 1          WHEREAS, each of the individual defendants in this matter has filed a motion to dismiss the
 2   Amended Complaint in the above-captioned action (the “Motions”), which, inter alia, challenge the
 3   Court’s personal jurisdiction over them as non-resident defendants;
 4          WHEREAS, Massive Interactive, Inc. (“Massive”) has similarly filed a motion to dismiss the
 5   Amended Complaint;
 6          WHEREAS, the Court issued an Order on April 1, 2016 (the “Order”), granting the Motions
 7   and dismissing Plaintiff Southport Lane Equity II, LLC’s (“Southport”) Amended Complaint with
 8   leave to amend;
 9          WHEREAS, on April 14, 2016, Southport filed a Notice of Intent Not to File a Second
10   Amended Complaint (the “Notice”), wherein it stated it intended to appeal the Order; and
11          WHEREAS, subsequently in April 2016, Southport and Massive executed a Joint
12   Monetization Agreement (the “Agreement”), wherein Southport agreed “to dismiss [its] claims with
13   prejudice within seven (7) days of the execution of this Agreement and further agree[d] not to refile
14   or otherwise pursue such claims, or action in any court or tribunal,” including a promise not “to file
15   or otherwise pursue any appeal” in this matter.
16

17

18

19

20                          [REMAINDER OF PAGE INTENTIONALLY OMITTED]
21

22

23

24

25

26

27

28

                                                       -2-
        Case 3:15-cv-00335-RCJ-VPC Document 61 Filed 05/25/16 Page 3 of 3



 1          NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among the
 2   parties, through their undersigned counsel, that pursuant to FRCP 41 and the terms of the Agreement,
 3   the Court should dismiss this matter in its entirety and with prejudice.
 4          IT IS FURTHER STIPULATED AND AGREED that each party shall bear its own fees
 5   and costs.
 6   Dated: May 25, 2016

 7
     FENNEMORE CRAIG, P.C.                              MCDONALD CARANO WILSON, LLP
 8

 9
     By: /s/ Courtney Miller O’Mara                     By: /s/ Rory T. Kay
10          Leslie Bryan Hart                                Pat Lundvall
11          Courtney Miller O’Mara                           Rory T. Kay

12   300 East Second Street - Suite 1510                2300 W. Sahara Avenue, Suite 1200
     Reno, Nevada 89501                                 Las Vegas, Nevada 89148
13   Tel: (775) 788-2200                                Tel: (702) 873-4100
     Fax: (775) 786-1177
14                                                      Attorneys for Defendants
15
     ROBINSON BROG LEINWAND GREENE
16    GENOVESE & GLUCK P.C.
17

18   By: /s/ Nicholas M. Menasche
            Nicholas M. Menasché
19
     875 Third Avenue, 9th Floor
20   New York, New York 10022
     Tel: (212) 603-6300
21   nmm@robinsonbrog.com
     (admitted pro hac vice)
22
     Attorneys for Plaintiff Southport Lane Equity
23
     II, LLC
24
                                           IT IS SO ORDERED:
25
                                           __________________________________
26                                         UNITED STATES DISTRICT JUDGE
27
                                           DATED: ______________________________
28

                                                       -3-
